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                     IN THE UNITED STATES DISTRICT COUR T
                                                                                        RD0 1
                   FOR THE SOUTHERN DISTRICT OF GEORGIA ... -..,,

                                  DUBLIN DIVISIO N


WATRICKIO TAVORIA JOHNSON ,

               Petitioner,

       V.                                           CV 304-03 4
                                                     (Formerly CR 302-005 )
UNITED STATES OF AMERICA,

               Respondent .


                                       ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation to which objections have been filed . Accordingly, the

Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of this

Court . Therefore, Petitioner's § 2255 motion is DENIED , this civil action is CLOSED, and

the Clerk is DIRECTED to enter a final judgment in favor of Respondent.

       SO ORDERED this ?r2 . day of Nove
